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                                UNITED    STAT~ST~~TRICT c~~UTY
                                         FOR THE
                                WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION


     UNITED STATESOFAMERICA                    )
                                               )
         v.                                    )       Criminal No.: 4:18-cr-00011
                                               )
     MATTHEW CAESAR FERGUSON                   )
       alk/a "MC"                              )

                                     STATEMENT OF FACTS

         The parties stipulate that the allegations contained in Count 1 of the First Superseding
  Indictment and the following facts are true and correct, and that had this matter gone to trial, the
  United States would have proven each of these facts beyond a reasonable doubt.

          At all times relevant to the First Superseding Indictment, MATTHEW CAESAR
  FERGUSON, a!k/a "MC," (hereinafter "FERGUSON") was a member of the criminal
  organization, the Rollin 60s Crips ("Rollin 60s"), which is a street gang. Since at least
  sometime in or about 2015, the Rollin 60s have been active in the Western District of Virginia
  and have engaged in criminal activity, including but not limited to murder and attempted murder,
  assault resulting in bodily injury, assault with a dangerous weapon, robbery, obstruction of
  justice, drug distribution and trafficking, and conspiracy to commit those crimes.

          The Rollin 60s, including its leadership, membership, and associates, constitutes an
  "enterprise" as defmed by Title 18, United States Code, Section 1961(4), that is, a group of
  individuals associated-in-fact. The enterprise constitutes an ongoing organization whose
  members function as a continuing unit for a common· purpose of achieving the objectives of the
  enterprise. This enterprise has engaged in, and its activities have affected, interstate and foreign
  commerce.

          The purposes of the enterprise, of which FERGUSON was a member, include promoting
  and enhancing the enterprise, and enriching its members and associates through, among other
  things, acts of violence, including murder, trafficking in firearms, and trafficking in controlled
  substances, and the enforcement of discipline among the members; to providing assistance to
  members of the enterprise who committed crimes for and on behalf of the enterprise; and to
  thwarting efforts of law enforcement to apprehend enterprise members.



  Defendant's Initials:N

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          At all relevant times, FERGUSON· was a member of the Rollin 60s. FERGUSON was
  involved in murders and attempted murders committed by the enterprise, as well as drug
  trafficking committed by the enterprise.

          From some date in 2015, in the Western District ofVirginia and elsewhere, FERGUSON,
  while associated with the Rollin 60s, did knowingly and intentionally conspire and agree with
  other members or associates of the Rollin 60s to conduct and participate in, directly and
  indirectly, the affairs of the Rollin 60s through a pattern of racketeering activity, as that term is
  defined by Title 18, United States Code, Sections 1961(1) and 1961(5), including but not limited
  to murder and attempted murder, gun trafficking, robberies, obstruction of justice, and
  conspiracy to distribute controlled substances.

         In furtherance of the conspiracy and to achieve its objectives, FERGUSON performed
  and caused to be performed certain racketeering acts in the Western District of Virginia and
  elsewhere. The racketeering acts performed by FERGUSON included, but are not limited to:

         A.      Murder of Christopher Motley and Attempted Murder of Justion Wilson
                 (August 20, 2016)

          In the summer of 2016, members of the Rollin 60s and Milia Bloods street gang "tied the
  flag" in order to facilitate their criminal activities in the Danville, Virginia area at the expense of
  a rival Bloods gang called the Billys, which is a set of the 9-Trey Bloods. At some point
  FERGUSON conspired with members of his own gang and members of the Milia Bloods to kill
  Wallace on August 20, 2016, and in the days around that date.

         On August 20, 2016, multiple meetings occurred between members of the Rollin 60s and
  the Milia Bloods. At least one of these meetings occurred at the apartment of Ashley Ross, who
  is an associate or member of the Rollin 60s. Ross's apartment is located in the Southwyck
  Apartment complex, which is in Danville, Virginia and which is located in the Western District
  of Virginia. In general, the plan was to lure Wallace (and his second-in-command) to
  Southwyck Apartments, where various gang members were fanned out around the complex and
  an adjoining parking lot, armed and prepared to shoot Wallace to death.

          At approximately 10:20 p.m., on August 20, 2016, a van drove into the apartinent
  complex, which caused multiple gang members to begin shooting from different directions,
  including FERGUSON. Two of these individuals were standing in the windo~ of Ross's
  apartment, which faces the parking lot. Other gang members were located in various locations
  in front of and adjacent.to the apartment buildings and parking lot, and some gang members were
  located near a trash dumpster in the parking lot in front of Ross's apartment. One of the
  occupants of the van, Christopher Motley, was killed in the gunfire. The driver of the van,
  Justion Wilson, was not injured.

         After the murder, the shooters fled into apartments in the apartment complex and from
  the Southwyck Apartpllptfs e-vanous locations in and around Danville, Virginia. FERGUSON
  Defendant's Initials:'f_}!J_L                                                            .

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   helped shooters flee from the scene by driving them in a black Chevrolet Impala. Various other
   individuals assisted the shooters in fleeing the murder scene as well as in disposing of the
   weapons.

        B.        Conspiracy to Distribute Controlled Substances

         During and in furtherance of the conspiracy, FERGUSON conspired with others to
   distribute, and did in fact distribute, marijuana on behalf ofthe racketeering enterprise.

          Each of the acts set forth in paragraphs A and B above furthered the goals and objectives
   of the enterprise by enriching FERGUSON and its members, and enhancing the status of
   FERGUSON and others within the organization.
           The actions taken by FERGUSON as described above were taken willfully, knowingly,
   and with the specific intent to violate the law. FERGUSON did not take those actions by
   accident, mistake, or with the belief that they did not violate the law. FERGUSON acknowledges
   that the purpose of the foregoing statement of facts is to provide an independent factual basis for
   his guilty plea. It does not necessarily identify all of the persons with whom the defendant
   might have engaged in illegal activity.

                                                        Respectfully submitted,



                                                        ~
                                                        Ronald M. Huber
                                                        Assistant United States Attorneys

           After consulting with my attorney and pursuant to the plea agreement entered into this
   day, I stipulate that the above Statement of Facts is true and accurate, and that had the matter
   proceeded to trial, the United States would have proved the    e beyond areas ble doubt.




           I am Matthew Caesar Ferguson's attorney. I have carefully reviewed the above Statement
   of Facts with him. To my knowledge, his decision to stipulate to these facts is an informed and
   voluntary one.


                                                    ~ck           T. Heblieh,  Jr.~
                                                        Interim Federal Public Defender
                                                        Counsel for Defendant

   Deftndant 's lnitia/s:;f!/f

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